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                          1:18-cv-785-WMR
                   Williams v. Eagle Bus, Inc., et al.
                    Honorable William M. Ray, II

          Minute Sheet for proceedings held In Open Court on 09/12/2019.


    TIME COURT COMMENCED: 11:15
   A.M.                                       COURT REPORTER: Wynette
    TIME COURT CONCLUDED: 5:00                Blathers
   P.M.                                       DEPUTY CLERK: Jennifer Lee
    TIME IN COURT: 00:45
    OFFICE LOCATION: Atlanta

ATTORNEY)        Billy Crecelius representing Defendants
PRESENT:         Carl Sollee representing Sabrina Williams
PROCEEDING
                 Jury Trial Concluded
CATEGORY:
MINUTE TEXT:     Jury note and court responses labeled as Court's Exhibits
                 8-10. The jury returned a note announcing a hung jury; the
                 Court instructed them as to the Allen charge (plaintiff and
                 defendants objections noted on the record). A verdict was
                 returned awarding compensatory damages to Plaintiff in
                 the amount of $100. No punitive damages. Plaintiff's post-
                 trial brief is due in 30 days. Defendant's post-trial brief is
                 due 15 days thereafter. If a hearing on post-trial briefs is
                 requested, parties are to notify the Court.
HEARING
STATUS:          Hearing Concluded

TRIAL STATUS:    Trial Completed-Completed by Jury Verdict
